Case 1:20-cr-00081-MSM-LDA Document 18 Filed 11/03/22 Page 1 of 1 PageID #: 129


  From:              Lisa moller
  To:                RID_ECF_INTAKE
  Subject:           Fwd:
  Date:              Wednesday, November 2, 2022 7:00:47 PM


  CAUTION - EXTERNAL:




         ﻿
         USA v. Michael Moller
         Case NO. 1:20-cr-00088-MSM-LDA



                                                         EMERGENCY UPDATE
                                                     TRANSFER CANCELED/POSTPONED



         Dear Judge,

                   Today Nov. 1st, 2022, I was woken up at 2 am and prepped to be transported to Butner
         Medium 2, at the last moment I was removed from the bus list and told I was not being moved, and
         was not provided a determinative reason as to why this was occuring. Staff here is well aware that I
         cannot be cared for here, and now I am unsure when or even if I will still be transfered.

             My sugar level continue to exceed over 600, I am pleading with the court to INTERVENE NOW,
         as this is a very bad situation, none of this was ever supposed to be happening.For these reasons I
         ask for your immediate intervention either by giving me a hearing or ordering my immediate
         release.

         Please help me Judge.

         /s/Michael Moller

  CAUTION - EXTERNAL EMAIL: This email originated outside the Judiciary. Exercise caution
  when opening attachments or clicking on links.
